                   Case 2:17-cv-01057-RAJ Document 56 Filed 07/18/17 Page 1 of 3




 1                                                      THE HONORABLE MARY ALICE THEILER
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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE
 9

10   DISPLAY TECHNOLOGIES, LLC,                        No. 2:17-cv-01057-MAT
11                            Plaintiff,               HTC AMERICA, INC.’S NOTICE
                                                       REGARDING DOCKETING OF
12            v.                                       CASE NO. 2:17-CV-01057-MAT
13   HTC AMERICA, INC.,
14                            Defendant.
15

16            Defendant HTC America, Inc. (“HTCA”) submits this notice regarding the docketing of
17   Case No. 2:17-cv-01057-MAT.
18            Display Technologies, LLC filed a complaint against HTCA on January 23, 2017 in the
19   District Court for the Eastern District of Texas, No. 2:17-cv-00070-JRG-RSP. (Dkt. No. 1.) On
20   Jan. 23, 2017, that case was consolidated with three cases also filed in the Eastern District of
21   Texas:
22            •     Display Technologies, LLC v. Blu Products, Inc. (2:17-cv-00067-JRG-RSP)
23            •     Display Technologies, LLC v. ZTE (USA) Inc. (2:17-cv-00068-JRG-RSP)
24            •     Display Technologies, LLC v. LG Electronics USA, Inc. (2:17-cv-00069-JRG-RSP)
25   (Dkt. No. 16.) The HTCA action was designated the LEAD CASE. (Id.)
26

     NOTICE RE DOCKETING CASE                                                   Perkins Coie LLP
                                                                          1201 Third Avenue, Suite 4900
     (No. 2:17-cv-01057-MAT) – 1                                            Seattle, WA 98101-3099
                                                                              Phone: 206.359.8000
                                                                               Fax: 206.359.9000
               Case 2:17-cv-01057-RAJ Document 56 Filed 07/18/17 Page 2 of 3




 1          On June 9, 2017, HTCA filed an unopposed motion to transfer the HTCA action (Case
 2   No. 2:17-cv-00070-JRG-RSP) but not the consolidated actions to the District Court for the
 3   Western District of Washington. (Dkt. No. 19.) HTCA’s motion was granted on June 19,
 4   2017. (Dkt. No. 36.)
 5          While only the HTCA action should have been transferred to this Court, the CM/ECF
 6   system presently lists the parties to the three consolidated cases still pending in the Eastern
 7   District of Texas as parties to Case No. 2:17-cv-01057-MAT pending in this Court.
 8   Accordingly, counsel for HTCA contacted Mr. Tim Farrell, Courtroom Deputy, who asked that
 9   HTCA file the present notice so that the Court may take any appropriate actions to correct the
10   docketing of the case if necessary.
11
                                                  By: /s/ Antoine M. McNamara
12   DATED: July 18, 2017                             Antoine M. McNamara, WSBA No. 41701
13                                                    AMcNamara@perkinscoie.com
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23

24                                                     Attorneys for Defendant HTC America, Inc.

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                                                                               Phone: 206.359.8000
                                                                                Fax: 206.359.9000
              Case 2:17-cv-01057-RAJ Document 56 Filed 07/18/17 Page 3 of 3




 1                                 CERTIFICATE OF SERVICE
 2
            The undersigned certifies that on July 18, 2017, a true and correct copy of the above
 3
     document was served on all counsel of record who are deemed to have consented to electronic
 4
     service via the Court’s CM/ECF system per Local Rule CV-5(a)(3)(A).
 5

 6
                                                    /s/ Antoine M. McNamara
 7                                                  Antoine M. McNamara

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                                                                           Perkins Coie LLP
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                                                                       Seattle, WA 98101-3099
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